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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

                            Case No.: 6:13-cv-1243-Orl-36DAB

   AVIATION ONE OF FLORIDA, INC.,

                        Plaintiff,

   vs.

   AIRBORNE INSURANCE CONSULTANTS,
   LTD., AFRICA TOURS & TRAVEL d/b/a
   SA GUINEE, MOHAMED DIAOUNE and
   CLYDE & CO., LLP,

                   Defendants.
   ____________________________________/

       CLYDE & CO., LLP’S MOTION TO DISMISS FOR LACK OF PERSONAL
    JURISDICTION, AND MOTION TO QUASH IMPROPER SERVICE OF PROCESS
       OR, ALTERNATIVELY, MOTION TO DISMISS FOR IMPROPER VENUE
                  AND SUPPORTING MEMORANDUM OF LAW

          COMES NOW the Defendant, CLYDE & CO., LLP (“Clyde”), by and through

   its undersigned counsel, appearing specially and not generally, and pursuant to

   Rules 12(b)(2), 12(b)(3), 12(b)(4) and 12(b)(5) of the federal rules of civil procedure,

   respectfully moves for an Order dismissing Clyde from this action due to lack of

   personal jurisdiction, and for an Order quashing Plaintiff’s improper service of

   process upon Clyde or, alternatively, an Order dismissing Plaintiff’s claim due to

   improper venue. In support thereof, Clyde states as follows:

                                        Introduction

          Clyde & Co. is a law firm based in London, England with no presence in

   Florida or the United States. Plaintiff Aviation One of Florida, Inc. (“Aviation One”) is
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   a Florida company who reached out to England and entered into a written agreement

   with Clyde to obtain their legal representation regarding an insurance dispute

   involving Plaintiff’s aircraft which was insured through a broker in South Africa who

   obtained insurance from a South African insurance company. The insured aircraft

   crashed in Africa. Clyde & Co. was retained to provide assistance in recovering

   insurance proceeds from the South African insurance company.

          Plaintiff does not have a sufficient basis to obtain personal jurisdiction over

   Clyde under Florida’s long-arm statute or to meet the United States Constitution’s

   due process requirements that Clyde have sufficient minimum contacts with Florida.

   Plaintiff’s Complaint does not articulate any factual basis to meet those requirements.

          In addition to the lack of contacts sufficient for personal jurisdiction over Clyde,

   Plaintiff’s Complaint should be dismissed because Plaintiff signed a contract with

   Clyde that stipulates:

                 We and you agree that any dispute or claim arising out of
                 or in connection with such contract or its subject-matter or
                 formation (including, without limitation, non-contractual
                 disputes or claims) shall be:

                 (a)    governed by and construed in accordance with
                 English law; and

                 (b)    subject to the exclusive jurisdiction of the English
                 courts.

          Consequently, Plaintiff cannot, as a matter of law, bring this claim against

   Clyde & Co. in Florida based on fundamental principles of due process and personal

   jurisdiction which dictate that this Court cannot exercise personal jurisdiction over

   Clyde & Co. in Florida and also because of Plaintiff’s own express agreement.




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                                          Background

          This action arises out of an insurance coverage dispute resulting from the

   crash of a Beech model 1900C aircraft that occurred in Guinea, West Africa. (Dkt. 67,

   ¶¶ 27, 30). Plaintiff retained the services of Defendant, AIRBORNE INSURANCE

   CONSULTANTS (PTY), LTD. (“Airborne”) to procure insurance for the aircraft from

   Guardrisk. (Dkt. 67, ¶¶ 8, 14, 19). After the crash, which occurred on September 1,

   2009, Guardrisk refused coverage. (Dkt. 67, ¶¶ 27, 30). Plaintiff alleges that Airborne

   initially retained Clyde to represent Aviation One and Airborne’s interests jointly in

   responding to Guardrisk (Dkt. 67, ¶¶ 33, 34). Subsequently, Aviation One and Clyde

   entered into a contract for legal services. The complete contract was not attached as

   an exhibit to the Amended Complaint. Exhibit E of the Amended Complaint (Dkt. 67-

   1) is a copy of Clyde’s Engagement Letter sent to Aviation One. Along with the

   Engagement Letter Clyde sent to Aviation One was a document entitled “Terms of

   Business.” (See Affidavit of David Edward Langley of Clyde & Co., attached hereto

   as Exhibit 1.) (¶ 24, Exhibit C to Exhibit 1.)

          The Terms of Business document together with the Engagement Letter and

   signature page from Mr. William Udey of Aviation One forms the contract between

   Aviation One and Clyde. (Exhibit 1, ¶ 28.) Plaintiff’s principal William Udey signed

   the Engagement Letter indicating his agreement to both the Engagement Letter and

   Terms of Business. (Exhibit 1 ¶ 27 (with attached Exhibit F to Exhibit 1.)) The

   contract provides that any dispute under the contract shall be governed by and

   construed in accordance with English law and subject to the exclusive jurisdiction of




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   the English courts. (Exhibit 1, ¶ 26 with attached Exhibit C.)

          On May 16, 2014, Aviation One filed its Amended Complaint (Dkt. 67), alleging

   that Clyde committed professional negligence resulting in damages to Aviation One

   (Dkt. 67, Count IV).

                                      LEGAL ANALYSIS

   I.     Jurisdictional Allegations

          It is difficult to discern the jurisdictional allegations in the Amended Complaint

   that pertain to Clyde. Paragraph 5 of the Amended Complaint (Dkt. 67) reads:

                 5.       Defendant Clyde & Co., LLP, refers to the limited
                          liability partnership, registered in England and
                          Wales and includes partners in the firm, Alex
                          Stovold and Gareth Lewis. It is referred to below as
                          “Clyde & Co.”

          Paragraph 10 of the Amended Complaint (Dkt. 67) reads:

                 10.      Venue lies in the Middle District of Florida, where
                          Aviation One resides, payment was due, Plaintiff’s
                          loss was suffered, and advice and legal services
                          were provided, under applicable law and contract
                          as set forth below.

          Paragraph 70 of the Amended Complaint reads:

                 70.      This is an action for professional negligence
                          against the firm of Clyde & Co., based on services
                          rendered by its partners, Alex Stovold and Gareth
                          Lewis (collectively “Clyde & Co.”).

          Clyde can find no other jurisdictional allegations in the Amended Complaint

   that pertain to Clyde.     From the allegations outlined above, it would appear that

   Aviation One is attempting to obtain personal jurisdiction over Clyde under Florida’s

   Long-Arm Statute, §48.193, for doing business in Florida and/or for committing a tort,




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   professional negligence, in Florida. For the reasons set forth below, however, there

   can be no personal jurisdiction over Clyde under any circumstance. First, Clyde has

   no business presence in Florida and did not do work in Florida in this matter. Second,

   the contract between Aviation One and Clyde contains a mandatory forum selection

   clause that provides that all matters arising out of or in connection with any dispute

   under the contract between Aviation One and Clyde shall be governed by and

   construed in accordance with English law and subject to the exclusive jurisdiction of

   the English courts. (Exhibit 1 ¶ 26, with attached Exhibit C.) Accordingly, Clyde must

   be dismissed from this action due to lack of personal jurisdiction over Clyde in Florida

   or, alternatively, for improper venue.

          Furthermore, the Summons issued to Clyde in this case was based upon

   insufficient and erroneous jurisdictional allegations and, therefore, the Summons is

   insufficient. Accordingly, Plaintiff’s improper service of process upon Clyde must be

   quashed.

   II.    Criteria for Exercise of Personal Jurisdiction

          In order to establish personal jurisdiction over a foreign Defendant within a

   Florida court, the allegations of the complaint must pass a two-pronged test. First,

   there must be a basis for jurisdiction under one of the various criteria contained in the

   Long-Arm Statute. Second, there must be sufficient minimum contacts between the

   Defendant and Florida so as to satisfy traditional notions of fair play and substantial

   justice under the Due Process Clause of the Fourteenth Amendment. Sculptchair,

   Inc. v. Century Arts, Ltd., 94 F.3d 623, 626 (11th Cir. 1996); Response Reward




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   Systems, L.C. v. Meijer, Inc., 189 F. Supp. 2d, 1332, 1335 (M.D. Fla. 2002); Int’l.

   Shoe Co. v. Washington, 326 U.S. 310, 316, 66 S.Ct. 154 (1945).

   III.    Plaintiff Has Not Established And Cannot Establish a Basis For Long-
           Arm Jurisdition over Clyde

           A.     Plaintiff has not alleged sufficient jurisdictional facts to subject
                  Clyde to Florida’s Long-Arm jurisdiction.

           The initial inquiry is whether the Plaintiff has alleged sufficient jurisdictional

   facts to subject the Defendant to Florida’s long-arm jurisdiction.              “For this

   requirement, a plaintiff may simply track the language of the statute.”         Venetian

   Salami Co. v. Parthenais, 554 So. 2d 499, 502 (Fla. 1989). Once Plaintiff has met

   this initial burden, the Plaintiff must then demonstrate that the Defendant possesses

   sufficient minimum contacts to satisfy the constitutional due process requirements.

   Washington Capital Corp. v. Milandco, Ltd., Inc., 695 So. 2d 838, 840-841 (Fla. 4th

   DCA 1997) citing Venetian Salami, 554 So. 2d at 502; Sculptchair v. Century Arts,

   Ltd., 94 F. 3d 623 (11th Cir. 1996); Lauzon v. Ribkoff, 77 F. Supp. 2d, 1250, 1253

   (S.D. Fla. 1999); Am. Investors Life Ins. Co. v. Webb Life Ins. Agency, Inc., 876 F.

   Supp. 1278 (S.D. Fla. 1995); Structural Panels, Inc. v. Texas Aluminum Industries,

   Inc., 814 F. Supp.1058 (M.D. Fla. 1993).

           The burden of proving personal jurisdiction rests with the Plaintiff. Steinhilber

   v. Lamoree, 825 F. Supp. 1003, 1005 (S.D. Fla. 1992); Lauzon, 77 F. Supp. 2d at

   1253.

           Jurisdiction under the Florida Long-Arm Statute requires greater contacts with

   the state than those called for under the Due Process Clause. Am. Investors Life Ins.




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   Co., 876 F. Supp. at 1280. Florida Courts require substantial proof before exercising

   personal jurisdiction over non-resident defendants. Lauzon, 77 F. Supp. 2d at 1255.

   The Florida Long-Arm Statute is strictly construed. Oriental Imports and Exports, Inc.

   v. Maduro & Curiel’s Bank, N.V., 701 F. 2d 889, 891 (11th Cir. 1983); Green v.

   USF&G, Corp., 772 F. Supp.1258 (S.D. Fla. 1991); and Rafal v. Mesick, 661 So. 2d

   79 (Fla. 2d DCA 1995).

         The Florida Long-Arm Statute, F.S. §48.193, provides in pertinent part:

                (1)(a) A person, whether or not a citizen or resident of this
                state, who personally or through an agent does any of the
                acts enumerated in this subsection thereby submits
                himself or herself and, if he or she is a natural person, his
                or her personal representative to the jurisdiction of the
                courts of this state for any cause of action arising from
                any of the following acts:

                1. Operating, conducting, engaging in, or carrying on a
                business or business venture in this state or having an
                office or agency in this state.

                2. Committing a tortious act within this state.

                3. Owning, using, possessing, or holding a mortgage or
                other lien on any real property within this state.

                                              *****
                6. Causing injury to persons or property within this state
                arising out of an act or omission by the defendant outside
                this state, if, at or about the time of the injury, either:

                a. The defendant was engaged in solicitation or service
                activities within this state; or

                b. Products, materials, or things processed, serviced, or
                manufactured by the defendant anywhere were used or
                consumed within this state in the ordinary course of
                commerce, trade, or use.




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                                 *****      *****       *****

                 (2) A defendant who is engaged in substantial and not
                 isolated activity within this state, whether such activity is
                 wholly interstate, intrastate, or otherwise, is subject to the
                 jurisdiction of the courts of this state, whether or not the
                 claim arises from that activity.


          Plaintiff does not articulate in the Complaint Plaintiff’s theory of the application

   of the Long-Arm statute to Clyde or any alleged business contacts that Clyde has

   with the state of Florida. Accordingly, plaintiff has not alleged sufficient jurisdictional

   facts to subject Clyde to Florida’s long-arm jurisdiction.

          B.     Clyde is not a resident of Florida for jurisdictional purposes

          Clyde is a limited liability partnership registered in England and Wales. (Dkt.

   67, ¶ 4), (Exhibit 1 ¶ 4.). Clyde is not now, nor has it ever, registered with the Florida

   Department of State, Division of Corporations as a foreign partnership doing

   business in Florida. (Exhibit 1, ¶ 6.) Clyde is not an active company in Florida and it

   does not have a designated registered agent for service of process in Florida.

   (Exhibit 1, ¶ 6, 15.) Clyde has no office in Florida. (Exhibit 1, ¶ 5.) Clyde has no

   telephones in Florida. (Exhibit 1, ¶16.) Clyde has no bank account in Florida. (Exhibit

   1, ¶ 16.) Clyde has no property in Florida. (Exhibit 1, ¶ 8). Thomas v. Brown, 504

   Fed. Appx. 845 (11th Cir. 2013) (holding that Ohio law firm did not have sufficient

   minimum contacts with Florida. The Defendant law firm had no office, telephone,

   bank account, or property of any kind in the state of Florida). Clyde’s principal place

   of business is in London. (Exhibit 1 ¶4.) Clyde has no employees or agents in

   Florida. (Exhibit 1, ¶ 7.) Clyde pays no taxes in Florida. (Exhibit 1, ¶10.) It does not




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   engage in any advertising directed to Florida. (Exhibit 1, ¶11.)

          Here, Aviation One contracted with Clyde for Clyde to represent Aviation One

   regarding an insurance coverage dispute with a South African company. (Exhibit 1,

   ¶12.) No legal services for Aviation One were performed in Florida. (Exhibit 1 ¶ 17.)

   All work was performed at Clyde’s London office. (Exhibit 1, ¶17.) No one from Clyde

   visited Florida to meet with anyone at Aviation One. (Exhibit 1, ¶13.) Clyde is not a

   resident of Florida for jurisdictional purposes. In short, Plaintiff reached out from

   Florida to an English law firm to obtain help to recover from an African insurance

   company concerning a plane crash in Africa.

          C.     There is no general jurisdiction over Clyde under the Long-Arm
                 Statute

          A court may assert general jurisdiction over foreign sister-state or foreign-

   country corporations to hear any and all claims against them when their affiliations

   with the State are so continuous and systematic as to render them essentially at

   home in the forum State. Daimler AG v. Bauman,134 S.Ct. 746, 754 (2014). General

   jurisdiction arises from a defendant’s contact with the forum that is unrelated to the

   cause of action. General Cigar Holdings v. Altadis S.A., 205 F. Supp. 2d 1335, 1343

   (S.D. Fla. 2002), citing Consol. Development Corp. v. Sherritt, Inc., 216 F. 3d 1286,

   1292 (11th Cir. 2000).

          Florida Statute §48.193(2) provides courts with general jurisdiction only over a

   defendant that has contacts with the forum that are continuous and systematic.

   General Cigar, 205 F. Supp. 2d at 1343.

          Under §48.193(2), jurisdiction can only be established over a non-resident




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    defendant if said defendant is engaged in substantial and not isolated activity within

    the forum state whether or not the claim arises from that activity. See Response

    Reward Systems, L.C. v. Meijer, Inc., 189 F.Supp.2d 1332, 1336 (M.D. Fla. 2002);

    Structural Panels, 814 F. Supp. at 1064-1066; Sofrar v. Graham Engineering

    Company, 35 F. Supp. 2d, 919, 921 (S.D. Fla. 1999); and Elmlund v. Mottershead,

    750 So. 2d 736, 737 (Fla. 3rd DCA 2000).

          Clyde is not “essentially at home” in Florida. Clyde is not registered by the

    State of Florida and has no employees, agents, assets, bank accounts,

    indebtedness, offices, properties, telephone numbers or mailing addresses in Florida;

    and, it does not solicit business in Florida. (Exhibit 1 ¶ 6,7,16.)     Clyde has no

    substantial, continuous or systematic contacts with this state. Accordingly, there is

    no general jurisdiction over Clyde under the Long-Arm Statute.

                 D.     There is no specific jurisdiction over Clyde under
                        the Long-Arm Statute

          Specific jurisdiction can only be obtained over a non-resident defendant under

    either the “doing business” prong or “tort” prong of the Florida Long-Arm Statute.

                 1.     There is no specific jurisdiction over Clyde
                        under the “Doing Business” Prong

          In order to satisfy the “doing business” prong of the Long-Arm Statute, Florida

    Statute §48.193(1)(a)1 requires Plaintiff to demonstrate that the non-resident

    defendant conducts business in the state sufficient to justify exercise of personal

    jurisdiction over the non-resident defendant under the Florida Long-Arm Statute.

    Fasco Controls Corp. v. Gable, 688 So. 2d 1029 (Fla. 5th DCA 1997). To establish




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    that a non-resident defendant is “doing business” in the state of Florida for purposes

    of the Long-Arm Statute, the activities of the defendant must be considered

    collectively and show a general course of business activity in the state for pecuniary

    benefit. Future Technology Today, Inc. v. OSF Healthcare Systems, 106 F. Supp. 2d

    1279, 1281 (S.D. Fla. 1999) citing Sculptchair, 94 F. 3d at 627.

           Plaintiff must also demonstrate that Plaintiff’s claims arise from, or are

    connected with, an alleged act or transaction committed by the non-resident

    defendant in Florida. See Univ. of So. Fla. Bd. of Regents v. Sherman & Shalloway,

    1994 WL 143081 (M.D. Fla.), citing Polskie Linie Oceaniczne v. Seasafe Transport

    A/S, 795 F. 2d 968, 970-972 (11th Cir. 1986) (explaining that there must be some

    nexus or connection between the business carried on in Florida and the cause of

    action alleged.)

           Clyde does not do business in Florida. Therefore, it is axiomatic that there is

    no nexus or connection between Clyde’s “business carried on in Florida” and the

    cause of action alleged.    As stated previously, all of Clyde’s work related to its

    representation of Aviation One occurred in its London office. (Exhibit 1, ¶ 17.) No

    legal work was performed in Florida. Therefore, this Court does not have specific

    jurisdiction over Clyde under the “doing business” prong of the Long-Arm Statute.

                  2.    There is no specific jurisdiction over Clyde
                        under the “Tort” Prong

           For specific jurisdiction to attach under the “tort” prong of the Long-Arm

    Statute, §48.193(1)(a)2, the Plaintiff must allege that the non-resident defendant

    committed a substantial aspect of the alleged tort at issue in Florida. Cable/Home




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    Communication Corp, v. Network Productions, Inc., 902 F.2d 829 (11th Cir. 1990);

    Meter Logic, Inc. v. Copier Solutions, Inc., 126 F. Supp. 2d 1346, 1354 (S.D. Fla.

    2000), citing L.O.T.I. Group Products v. Lund, 907 F. Supp. 1528, 1532 (S.D. Fla.

    1995). This showing is made when the Plaintiff establishes that the non-resident

    defendant’s activities in Florida “were essential to the success of the tort.” General

    Cigar, 205 F. Supp. 2d at 1345, citing Williams Electric Company v. Honeywell, 854

    F. 2d 389, 394 (11th Cir. 1988).

           There is no tort at issue that occurred in Florida because the alleged

    professional negligence took place in England. Clyde denies that it committed any

    negligence, in whole or in part, with respect to the issues in this litigation; and more

    specifically, Clyde did not commit any tort, in whole or in part, within the State of

    Florida. All of the legal work performed by Clyde on behalf of Aviation One occurred

    in London, England. (Exhibit 1) Any alleged action or failure to act that is the subject

    of Plaintiff’s tort claim occurred in England. Accordingly, the “tort” prong of the Long-

    Arm Statute is not satisfied because Plaintiff cannot establish that Clyde’s activities in

    Florida were essential to the success of the tort.

    IV.    The Exercise of Personal Jurisdiction Over Clyde Does Not Satisfy Due
           Process Under the Fourteenth Amendment

           As stated previously, the inquiry for purposes of determining personal

    jurisdiction is a two-prong test. First, there must be a basis for jurisdiction under one

    of the various criteria contained in the Long-Arm Statute. Second, there must be

    sufficient minimum contacts between the Defendant and Florida so as to satisfy

    traditional notions of fair play and substantial justice under the Due Process Clause




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    of the Fourteenth Amendment. Assuming, arguendo, that Plaintiff meets the

    requirements of the Long-Arm Statute, although Plaintiff has not done so, Plaintiff

    must still additionally meet the “minimum contacts” test under the Due Process

    Clause.

          The Due Process Clause under the Fourteenth Amendment to the United

    States Constitution limits a court’s power to exercise personal jurisdiction over a non-

    resident defendant to instances where the defendant has “certain minimum contacts

    with [the forum] such that the maintenance of the suit does not offend traditional

    notions of fair play and substantial justice.” Int’l Shoe Company v. State of

    Washington, 326 U.S. 310, 316 (1945).

          The question of whether due process requirements have been established

    under the facts involves a two-prong inquiry. First, did the nonresident defendant

    establish minimum contacts with the forum?           Second, would the exercise of

    jurisdiction offend traditional notions of fair play and substantial justice? Madara v.

    Hall, 916 F. 2d 1510, 1516 (11th Cir. 1990).

          A.     Clyde Did Not Establish Sufficient Minimum Contacts With Florida
                 to Meet Due Process Requirements

          In this case, Plaintiff has not asserted any form of minimum contacts between

    Clyde and the state of Florida except to allege in vague terms that venue lies in the

    Middle District of Florida where Plaintiff alleges advice and legal services were

    provided. (Dkt. 67, ¶ 10) However, as discussed previously, Clyde, in fact, does not

    and has not conducted business in Florida. All of the legal work Clyde performed for

    Aviation One was performed in London. (Exhibit 1, ¶ 17.) Accordingly, the minimum




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    contacts prong is not satisfied.

           Federal law applies to determine whether assertion of jurisdiction over a

    nonresident defendant comports with due process. Poston v. American President

    Lines, Ltd., 452 F. Supp. 568, 571 (S.D. Fla. 1978). See Madara, 916 F. 2d 1510;

    Groome v. Feyh, 651 F. Supp. 249 (S.D. Fla. 1986).

           To constitute minimum contacts with a state for specific personal jurisdiction,

    the defendant’s actions must provide the defendant with fair warning. Burger King

    Corp. v. Rudzewicz, 105 S.Ct. 2174, 2181-82 (1985). This requirement is satisfied if

    the defendant purposefully directs activities in Florida and litigation arises out of

    those activities, id., or the defendant “purposefully avails” itself of the privilege of

    conducting activities within the forum state. Hanson v. Denckla, 78 S.Ct. 1228, 1240

    (1958).   Additionally, the activities must be of such character that the defendant

    would reasonably anticipate being hailed into court in Florida.              World-Wide

    Volkswagen Corp. v. Woodson, 100 S.Ct. 559, 567 (1980); Burger King, 105 S.Ct. at

    2181-82. A defendant may not be hailed into a jurisdiction solely as a result of

    “‘random,’ ‘fortuitous,’ or ‘attenuated’” contacts. Id. at 2189. The Supreme Court has

    emphasized that it is “the actions of the defendant himself that must create a

    ‘substantial connection’ with the forum . . .” Johnston v. Frank E. Basil, Inc., 802 F.

    2d 418, 420 (11th Cir. 1986) (citations omitted).

           Clyde is a limited liability partnership registered in England and Wales. (Dkt.

    67, ¶ 4), (Exhibit 1 ¶ 4.). Clyde is not now, nor has it ever, registered with the Florida

    Department of State, Division of Corporations as a foreign partnership doing




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    business in Florida. (Exhibit 1, ¶ 6.) Clyde is not an active company in Florida and it

    does not have a designated registered agent for service of process in Florida.

    (Exhibit 1, ¶ 6, 15.) Clyde has no office in Florida. (Exhibit 1, ¶ 5.) Clyde has no

    telephones in Florida. (Exhibit 1, ¶16.) Clyde has no bank account in Florida. (Exhibit

    1, ¶ 16.) Clyde has no property in Florida. (Exhibit 1, ¶ 8). Thomas v. Brown, 504

    Fed. Appx. 845 (11th Cir. 2013) (holding that Ohio law firm did not have sufficient

    minimum contacts with Florida. The Defendant law firm had no office, telephone,

    bank account, or property of any kind in the state of Florida). Clyde’s principal place

    of business is in London. (Exhibit 1 ¶4.)       Clyde has no employees or agents in

    Florida. (Exhibit 1, ¶ 7.) Clyde pays no taxes in Florida. (Exhibit 1, ¶10.) It does not

    engage in any advertising directed to Florida. (Exhibit 1, ¶11.)

           Here, Aviation One contracted with Clyde for Clyde to represent Aviation One

    regarding an insurance coverage dispute with a South African company. (Exhibit 1,

    ¶12.) No legal services for Aviation One were performed in Florida. (Exhibit 1 ¶ 17.)

    All work was performed at Clyde’s London office. (Exhibit 1, ¶17.) No one from Clyde

    visited Florida to meet with anyone at Aviation One. (Exhibit 1, ¶13.) Accordingly, the

    minimum contacts prong is not satisfied.

           B.     Clyde Could Not Have Anticipated Being Hailed Into Florida Courts
                  Due to Lack of Sufficient Contacts and Because Plaintiff Agreed
                  Any Dispute With Clyde Would Be Venued In England

           Clyde did not engage in actions to establish substantial contacts with Florida

    such that Clyde could have reasonably anticipated being hailed into court in Florida.

    Asserting jurisdiction over Clyde would offend traditional notions of fair play and




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    substantial justice.   As dispositive proof of Clyde’s expectations, Clyde explicitly

    agreed with Plaintiff that any dispute with the Florida based Plaintiff would be

    adjudicated in England, not Florida. Exhibit E to the Amended Complaint (Dkt. 67-1)

    is an Engagement Letter from Clyde to Aviation One. The exhibit is missing the

    Terms of Business that was sent to Aviation One with the Engagement Letter. The

    Engagement Letter, Terms of Business, and signature page from Aviation One

    constitute the contract under which Clyde performed its legal services. (Exhibit 1 ¶ 28

    and attached Exhibits B and C.) That contract specifically provides that all matters

    arising out of or in connection with any dispute under the contract shall be governed

    by and construed in accordance with English law and subject to the exclusive

    jurisdiction of the English courts. (Exhibit 1 ¶ 26.) There is no proof that Clyde ever

    purposefully availed itself of activities to create jurisdiction in Florida. To the contrary,

    the contract that controls this transaction and any related tort dispute between

    Plaintiff and Clyde shows the expectation and selection of jurisdiction in England.

           The forum selection clause in this case shows that Clyde never anticipated

    being hailed into court in Florida. Clyde does not conduct business in the State of

    Florida. Additionally, the plane crash that is the subject of this litigation did not occur

    in Florida. Clyde was retained regarding an insurance coverage dispute with a South

    African company. There is simply no basis to hail Clyde into a Florida court to defend

    itself in this litigation. Plaintiff should be required to follow its own agreement and

    pursue any claim in England.          The exercise of jurisdiction under these facts,

    therefore, would offend traditional notions of fair play and substantial justice.




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    Accordingly, the Due Process prong is not satisfied and Plaintiff’s Complaint against

    Clyde should be dismissed.

                        MOTION TO QUASH SERVICE OF PROCESS

           Service of Process on Clyde was insufficient and improper and therefore
           must be quashed

           Clyde should also be dismissed from this action for insufficiency of process

    and insufficiency of service of process.          Service of process upon Clyde was

    erroneous and invalid because the attempted service of process was based on

    Plaintiff’s insufficient and erroneous jurisdictional allegations.

           As outlined in the arguments above, Clyde does not conduct business in

    Florida. This Court cannot properly exercise personal jurisdiction over Clyde.

    Accordingly, Plaintiff’s jurisdictional allegations against Clyde in the Amended

    Complaint are erroneous and insufficient and the conclusory allegations are incorrect.

    Therefore, to the extent Plaintiff intended to obtain service of process on Clyde, the

    attempted service was insufficient, improper and must be quashed.

                       MOTION TO DISMISS FOR IMPROPER VENUE

           Plaintiff’s Complaint Against Clyde In Florida Must Be Dismissed Due to
           Improper Venue Based On Plaintiff’s Agreement With Clyde

           On a Rule 12(b)(3) motion to dismiss, the plaintiff has the burden of showing

    that venue in its chosen forum is proper. Gulf Power Co. v. Coalsales II, LLC, 2008

    WL 563484, at *5 (N.D.Fla.Feb.27, 2008) (citing Wai v. Rainbow Holdings, 315

    F.Supp.2d 1261, 1268 (S.D.Fla. 2004)); Brown v. Brown, 2007 WL 949424, at * 2

    (M.D.Fla. Mar. 27, 2007). In considering such a motion, a court accepts the facts in




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    the plaintiff's complaint as true. Wai, 315 F.Supp.2d at 1268. For defenses raised

    under 12(b)(3), improper venue, “the court may consider matters outside the

    pleadings, and often must do so, since without aid of such outside materials the court

    would be unable to discern the actual basis, in fact, of a party's challenge to the bare

    allegation in the complaint that venue is proper in this court.” Id. Where there is a

    conflict between allegations in the complaint and evidence outside the pleadings, the

    court “must draw all reasonable inferences and resolve all factual conflicts in favor of

    the plaintiff.” Id.

            Here, even if the court has jurisdiction over Clyde, which it does not, this case

    has been brought in the wrong venue. Venue for any disputes between Aviation One

    and Clyde lies in the English courts based on the Agreement between Plaintiff and

    Clyde. Plaintiff’s Complaint should be dismissed because Plaintiff signed a contract

    with Clyde that stipulates:

                    We and you agree that any dispute or claim arising out of
                    or in connection with such contract or its subject-matter or
                    formation (including, without limitation, non-contractual
                    disputes or claims) shall be:

                    (a)    governed by and construed in accordance with
                    English law; and

                    (b)    subject to the exclusive jurisdiction of the English
                    courts.

            Consequently, Plaintiff cannot, as a matter of law, bring this claim against

    Clyde in Florida based on their own agreement.           On 30 April 2014, Mr. Alex

    Stovold from Clyde sent an email to Mr. William Udey of Aviation One. (Exhibit 1 ¶

    23.) The email provided Aviation One with Clyde’s Engagement Letter and Terms of




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    Business. (Exhibit 1 ¶ 24.) The Terms of Business contains the forum selection

    clause as stated above. (Exhibit 1 ¶ 26.) Plaintiff’s principal, William Udey, signed

    the Engagement Letter agreeing to both the Engagement Letter and Terms of

    Business (Exhibit 1, ¶ 27 at Exhibit F.)

           Forum selection clauses in contracts are enforceable in federal courts. P & S

    Business Machines, Inc. v. Canon USA, Inc., 331 F.3d 804, 807 (11th Cir. 2003)

    (citing M/S Bremen v. Zapata Off-Shore Co., 92 S.Ct. 1907 (1972)). Forum selection

    clauses are presumptively valid and enforceable unless the plaintiff makes a strong

    showing that enforcement would be unfair or unreasonable under the circumstances.

    Krenkel v. Kerzner International Hotels Ltd., 579 F.3d 1279, 1281 (11th Cir. 2009).

    The forum selection clause at issue, here, is not unfair or unreasonable and was

    agreed to by Aviation One. Mr. Udey, on behalf of Aviation One, signed the following

    statement:

                  I agree to the terms in this letter and in Clyde & Co LLP’s
                  Terms of Business [(1 September 2009 Edition)], which I
                  have received. (Exhibit 1, ¶ 27 at Exhibit F.)

           Accordingly, Aviation One acknowledged receipt of the Terms of Business and

    also agreed to the forum selection clause. Therefore, this court should dismiss

    plaintiff’s complaint for improper venue. Lipcon v. Underwriters at Lloyd’s London,

    148 F.3d 1285 (11th Cir. 1998) (forum selection clauses in international agreements

    are prima facie valid and should be enforced unless enforcement is shown by

    resisting party to be unreasonable under the circumstances). The forum selection

    clause, here, is not unreasonable under the circumstances. Aviation One can bring




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    its cause of action against Clyde in the English courts—as it agreed to do.

                                          Conclusion

           Clyde’s Motion to Dismiss should be granted because there is neither a

    statutory nor a constitutional basis to subject Clyde to the jurisdiction of Florida

    courts. Clyde’s random, fortuitous or attenuated contacts with Florida as it relates to

    the allegations of this Amended Complaint makes this clear. Clyde is not subject to

    personal jurisdiction under the Long-Arm Statute because Clyde is not a resident of

    Florida; it has no substantial, continuous or systematic contacts with the state; it does

    not do business in the state; and it committed no tort in the state. Nevertheless, even

    if the Long-Arm Statute can be shown to apply, the exercise of jurisdiction over Clyde

    would not satisfy Due Process under the Fourteenth Amendment to the United States

    Constitution.    Clyde lacks the requisite “minimum contacts” with the state.

    Accordingly, maintenance of the suit against Clyde would offend traditional notions of

    fair play and substantial justice.

           Moreover, even if the court were to find that it has jurisdiction over Clyde, this

    action should be dismissed for improper venue. The contract at issue in this case has

    a valid mandatory forum selection clause that provides that all matters arising from

    the provision of legal services at issue in this matter be brought in the English courts.

    The forum selection clause was agreed to in writing by Aviation One and is not

    unreasonable or unfair. Aviation One can bring its action in the English courts as

    Aviation One agreed to do.

           WHEREFORE, the Defendant, CLYDE & CO., LLP (“Clyde”), appearing




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    specially and not generally, respectfully moves for an Order dismissing it from this

    action due to lack of personal jurisdiction and further moves for an Order quashing

    Plaintiffs’ improper service of process upon Clyde or, alternatively, for an order

    dismissing this action due to improper venue. Defendant, Clyde, requests all further

    relief that this Court deems appropriate.

                                          BUTLER PAPPAS WEIHMULLER KATZ CRAIG
                                          LLP


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                                 CERTIFICATE OF SERVICE

            I hereby certify that, on June 25, 2014, a true and correct copy of the foregoing
    was served upon counsel of record on the below Service List via this court’s CM/ECF
    filing system.


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    By CM/ECF on June 25, 2014.


    Additionally, a copy of the foregoing has been mailed to:

                 Mr. Mohamed Diaoune
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                 Lawrenceville, GA 30043

                                          /s/ Scott E. Damon
                                         SCOTT E. DAMON, ESQ.




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